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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                      CRIMINAL MINUTES - GENERAL




 Case                                                                                         July 19, 2024
                  SA21CR00124-JLS-1                                                  Date
 No.


 Present: The Honorable          JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE
 Interpreter       None
        Charles A. Rojas                    Miranda Algorri                            Melissa Rabbani
                Deputy Clerk              Court Reporter/Recorder                      Assistant U.S. Attorney



           U.S.A. v. Defendant(s):       Present   Cust   Bond         Attorneys for Defendants:      Present App. Ret.

Christopher John Badsey                    X         X              Patrick McLaughlin, CJA              X        X



 PROCEEDINGS:                  SENTENCING HEARING



      The matter is called and counsel state their appearances. The Court and counsel confer. Fore
reasons stated on the record, the Sentencing hearing is continued to August 23, 2024, at 9:30 AM.
There will be no more continuances.




                                                                                                        :        .18
                                                          Initials of Deputy Clerk cr



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